

Yao Wen Lei v Yu Hin Chan (2023 NY Slip Op 51256(U))



[*1]


Yao Wen Lei v Yu Hin Chan


2023 NY Slip Op 51256(U)


Decided on November 13, 2023


Appellate Term, Second Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on November 13, 2023
SUPREME COURT, APPELLATE TERM, SECOND DEPARTMENT, 2d, 11th and 13th JUDICIAL DISTRICTS
PRESENT: : WAVNY TOUSSAINT, P.J., MARINA CORA MUNDY, LISA S. OTTLEY, JJ



2023-500 K C

Yao Wen Lei and Harry Zeng, Respondents, 
againstYu Hin Chan and Feifei Gu, Appellants, "John Doe" and/or "Jane Doe," Undertenants. 




Yu Hin Chan and Feifei Gu, appellants pro se.
Steven T. Gee, P.C. (Steven T. Gee of counsel), for respondents.

Appeals from orders of the Civil Court of the City of New York, Kings County (Sergio Jimenez, J.), entered February 28, 2023 and June 2, 2023. The order entered February 28, 2023 denied tenants' motion to dismiss the petition in a holdover summary proceeding and for sanctions and costs. The order entered June 2, 2023 granted landlords' motion to strike tenants' jury demand and denied tenants' cross-motion for the issuance of subpoenas and separate cross-motion to dismiss the petition.




ORDERED, on the court's motion, that the appeals are consolidated for the purposes of disposition; and it is further,
ORDERED that the appeals are dismissed.
In this holdover proceeding, tenants appeal from an order entered February 28, 2023, which denied tenants' motion to dismiss the petition and for sanctions and costs, and an order entered June 2, 2023, which granted landlords' motion to strike tenants' jury demand and denied tenants' cross-motion for the issuance of subpoenas and separate cross-motion to dismiss the petition. A final judgment in this proceeding was entered after a nonjury trial on June 29, 2023. The appeals are dismissed as the right of direct appeal from the intermediate orders terminated with the entry of the final judgment on June 29, 2023 (see Matter of Aho, 39 NY2d 241, 248 [1976]).
TOUSSAINT, P.J., MUNDY and OTTLEY, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: November 13, 2023









